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 6   Attorney for Defendant
     Issa Doreh
 7
                                  UNITED STATES DISTRICT COURT
 8
                              SOUTHERN DISTRICT OF CALIFORNIA
 9
                                                  )
10   UNITED STATES OF AMERICA,                    )   CRIMINAL CASE # 10CR4246-JM
                                                  )
11   	
             Plaintiff,                   )   EX PARTE APPLICATION FOR
                                                  )   AN ORDER PRESERVING AND
12   v.                                           )   GRANTING DEFENSE ACCESS TO
                                                  )   SHIDAAL EXPRESS COMPUTERS
13   ISSA DOREH (3),                              )   AND RELATED HARDWARE.
                                                  )
14   	
             Defendant                    )
                                                  )
15                                                )

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      The defendant, Issa Doreh, hereby applies ex parte to the Court for an order
17

18   directing the Court-appointed permanent receiver and the receiver's attorney to preserve
19
     the computers and related hardware of Shidaal Express, Inc. and to permit the
20

21   defendant's representatives to inspect and copy those items in their possession as a result
22
     of this Court's rulings in Civil Case # 09CV2610-JM, Securities and Exchange
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24
     Commission v. Shidaal Express, Inc. and Mohamud Abdi Ahmed.

25

26   Dated: February 11, 2011	
 	
     	
    	
       	
   	
   s/Kenneth J. Troiano
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   Kenneth J. Troiano
     	
   	
    	
    	
     	
     	
    	
       	
   	
   Attorney for Defendant
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